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                     UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO

 JACK CHRISTOPHER
 CARSWELL,                                  Case No. 1:22-cv-00369-BLW

                    Plaintiff,              MEMORANDUM DECISION AND
                                            ORDER
       v.

 NICHOLAS ANDERSON; TERRY
 HODGES; NATHAN ATKINSON;
 CHRISTOPHER LEFAVE; and
 BRANDON FRASIER,

                    Defendant.


                                 INTRODUCTION

      Before the Court is the defendants’ Motion to Compel Discovery Responses

(Dkt. 44). For the reasons explained below, the Court will grant the motion.

                                 BACKGROUND

      Jack Christopher Carswell, a pro se plaintiff, filed this lawsuit in August of

2022 against the Meridian Police Department and several police officers. Dkt. 2.

The Court dismissed Carswell’s original Complaint in its entirety and dismissed

most of the claims in his later-filed Amended Complaint. See Dkts. 6 & 10. On

April 24, 2023, Carswell filed the now-operative Second Amended Complaint

(Dkt. 16). After performing an initial review under 28 U.S.C. § 1915(e)(2), the


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Court dismissed two of Carswell’s claims but allowed him to proceed on his claims

for false arrest, malicious prosecution, excessive force, and unlawful seizure of

personal property. See Dkt. 20.

      On October 9, 2023, Carswell provided the defendants with his initial

disclosures, including several photographs of his alleged injuries, a letter

referencing his pre-existing diagnosis of cerebellar dysfunction, and an “After Visit

Summary” from St. Luke’s hospital dated from November 7, 2021. Williams Decl.

¶ 2, Dkt. 44-2. Shortly thereafter, on October 24, 2023, the Court entered a

Scheduling Order (Dkt. 32) that established the litigation deadlines governing this

case. Pursuant to that Order, fact discovery must have been completed by May 29,

2024, and dispositive motions must be filed by June 28, 2024. Scheduling Order

¶¶ 1, 6, Dkt. 32.

      On December 13, 2023, the defendants served Carswell with their First Set

of Interrogatories and Requests for Production. Williams Decl., Ex. A, Dkt. 44-3.

Among other things, the defendants sought information and documents related the

allegations of damages in Carswell’s Second Amended Complaint (Dkt. 16). See

Williams Decl., Ex. A, Dkt. 44-3 (Interrogatory 5–11; Request for Production 5).

In response to each discovery request, Carswell stated the following objection:

      Feel free to reference all of the Initial Discovery that was supplied to
      you on the 9th of October, 2023.



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       This interrogatory is also irrelevant in accordance with the Federal
       Rules of Evidence Rule 403. I would strongly suggest understanding
       the Court’s Memorandum and Decision Order dated August 1, 2023.

Williams Decl., Ex. B ¶ 4, Dkt. 44-4 (emphasis in original).1

       After receiving Carswell’s objections, defense counsel sent Carswell a letter

explaining why they believe the discovery requests are relevant and suggesting that

the parties schedule a conference to discuss the matter. Williams Decl., Ex. C, Dkt.

44-5. When Carswell reiterated his objections and declined to meet, the defendants

obtained the Court’s permission to file a Motion to Compel Discovery Responses

(Dkt. 44). That Motion is now fully briefed and ripe for decision.

                                  LEGAL STANDARDS

       A party may obtain discovery on any “nonprivileged matter that is relevant

to any party's claim or defense[.]” FED. R. CIV. P. 26(b)(1). Information is relevant

if it has “any tendency” to make a fact of consequence more or less probable than

it would be without the information or documents. FED. R. EV. 401.

       Under Rule 37 of the Federal Rules of Civil Procedure, a party seeking

discovery may move for an order compelling another party to provide an “answer,

designation, production, or inspection.” FED. R. CIV. P. 37(a)(3)(B). And, if the

moving party succeeds on its motion, the court must require the objecting party “to



       1
         Carswell’s objection to Request for Production 5, though stated differently, is
substantively the same. See Williams Decl., Ex. B at 8–9, Dkt. 44-4.

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pay the movant’s reasonable expenses incurred in making the motion, including

attorney’s fees.” FED. R. CIV. P. 37(a)(5)(A). There are three exceptions, where the

court is not required to shift the financial burden to the objecting party: (1) where

the movant did not first attempt in good faith to obtain the disclosure without the

court’s involvement; (2) where the objecting party’s opposition was “substantially

justified;” and (3) where “other circumstances make an award of expenses unjust.”

FED. R. CIV. P. 37(a)(5)(A)(i–iii).

                                      DISCUSSION

      In this Order, the Court addresses a very narrow issue: whether the

information and documents sought in seven of the defendants’ interrogatories

(Nos. 5–11) and one of the defendants’ requests for production (No. 5) are relevant

to this case. The Court does not address any of the substantive issues underlying

this lawsuit, such as whether Carswell’s rights were violated, or whether he

suffered harm because of the defendants’ conduct.

1.    Carswell must respond to the disputed discovery requests.

      Carswell’s relevancy objections are utterly baseless. In his Second Amended

Complaint, Carswell seeks millions of dollars in damages against the defendants

for alleged violations of his rights, physical injuries, and a loss of “personal

property.” Sec. Am. Compl., Dkt. 16. Specifically, Carswell claims that the

defendants’ use of excessive force resulted in “multiple injuries that required an

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Emergency Department visit,” including injuries to his “major breathing muscles,”

“chest pain,” “renal insufficiency,” and “cuts, scrapes and bruises.” Sec. Am.

Compl. at 7, Dkt. 16. Moreover, Carswell claims that his “pre exhisting [sic]

medical conditions have suffered even more detriment as a result” of the

defendants’ conduct. Id.

      It should go without saying that the defendants are entitled to obtain

information that might disprove Carswell’s damages claims. Indeed, the whole

point of the discovery process is to facilitate the exchange of relevant information.

Without full and fair discovery, a defendant would be powerless against a

plaintiff’s claims, and the core principle of transparency that underlies our civil

justice system would crumble.

      Here, the defendants’ interrogatories and requests for production are as

relevant as discovery requests come. Carswell’s arguments to the contrary border

on nonsensical. He appears to argue that all his past, present, and future medical

information is irrelevant because he has already provided “a medical

diagnosis/disability statement” and “the discharge report from the Emergency

Department.” Pl.’s Resp. at 5, Dkt. 45. But that’s not how this works. A plaintiff

cannot pick and choose which relevant information and documents to provide to a

defendant. And for good reason—a plaintiff might withhold evidence unfavorable




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to his own claims. Instead, defendants are entitled to conduct their own review of

the relevant materials and form their own opinions about their usefulness.

      Ultimately, if a plaintiff cannot play by the rules of the game—i.e., the

procedural requirements that govern civil litigation— he has no right to utilize the

legal system.

2.    Carswell must pay the reasonable costs and attorney fees incurred by
      the defendants in bringing and defending their Motion to Compel
      Discovery Responses (Dkt. 44).

      Pursuant to Rule 37(a)(5)(A), unless an exception applies, the Court must

require Carswell to pay the defendants’ “reasonable expenses incurred in making

the motion, including attorney fees.”

      None of the exceptions apply here. First, after receiving Carswell’s

objections, the defendants sent Carswell a letter outlining their position and

suggesting a meet and confer. Williams Decl., Ex. C, Dkt. 44-5. In doing so, the

defendants made a good faith effort to resolve this dispute without involving the

Court. FED. R. CIV. P. 37(a)(5)(A)(i). Second, Carswell’s relevancy objections are

plainly meritless—not “substantially justified.” FED. R. CIV. P. 37(a)(5)(A)(ii). And

third, no other circumstances make an award of expenses unjust.

      In sum, the defendants are entitled to their reasonable expenses, including

attorney fees, incurred in bringing and defending their Motion to Compel

Discovery Responses (Dkt. 44).


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3.     Modification of Litigation Deadlines

       This dispute over the defendants’ discovery requests has delayed the

discovery process in this case. Consequently, some of the litigation deadlines will

likely need to be extended. See Def.’s Reply at 2, Dkt. 48 (“Defense counsel

intends to take Plaintiff’s deposition once he has provided the responsive discovery

information.”). Within fourteen days after issuance of this Order, the parties shall

file a stipulation to extend the litigation deadlines, as necessary. If a stipulation

cannot be reached, the defendants may instead file a motion to extend the

deadlines, and Carswell may file a response to that motion within seven days after

it is served.

                                        ORDER

       IT IS ORDERED that:

       1.       Defendants’ Motion to Compel Discovery Responses (Dkt. 44) is

GRANTED. Plaintiff shall respond to Interrogatory Nos. 5–11 and Request for

Production No. 5 within fourteen days after issuance of this Order.

       2.       Defendants are further entitled to their reasonable expenses, including

attorney fees, incurred in bringing and pursuing their Motion. Within twenty-one

days after issuance of this Order, Defendants shall file their motion for attorney

fees along with any supporting documentation.




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      3.     Within fourteen days after issuance of this Order, the parties shall file

a stipulation to extend the litigation deadlines, as necessary. If a stipulation cannot

be reached, the defendants may instead file a motion to extend the deadlines, and

Carswell may file a response to that motion within seven days after it is served.



                                               DATED: June 24, 2024


                                               _________________________
                                               B. Lynn Winmill
                                               U.S. District Court Judge




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